                                                                      Case 3:21-cv-08378-JD Document 175 Filed 08/26/22 Page 1 of 4



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                                                           11
JW HOWARD/ ATTORNEYS, LTD.




                                                                Attorneys for Plaintiff
                                                           12   NAOMI WOLF
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13

                                                           14                             UNITED STATES DISTRICT COURT
                                                           15                       NORTHERN DISTRICT OF CALIFORNIA
                                                           16

                                                           17   DONALD J. TRUMP, et al.,                   Case No. 3:21-cv-08378-JD
                                                           18                Plaintiffs,                   Hon. James Donato
                                                           19          vs.
                                                                                                           NOTICE OF ASSOCIATION OF
                                                           20   TWITTER, INC., et al.,                     COUNSEL FOR PLAINTIFF
                                                                                                           NAOMI WOLF
                                                           21                Defendants.
                                                           22
                                                                                                           Action Filed: July 7, 2021
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                                                                 NOTICE OF ASSOCIATION OF COUNSEL                              CASE NO. 20-CV-09300-AGT
                                                                     Case 3:21-cv-08378-JD Document 175 Filed 08/26/22 Page 2 of 4



                                                           1          TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF
                                                           2    RECORD:
                                                           3          PLEASE TAKE NOTICE that Plaintiff Naomi Wolf has retained the law firm
                                                           4    JW Howard/Attorneys, Ltd., to serve as her lead counsel in this action and the appeal
                                                           5    that arose out of it. Dr. Wolf’s principal lawyers will be John Howard, Esq., and Scott
                                                           6    Street, Esq., each of whom is licensed to practice before all courts in the state of
                                                           7    California and in its federal courts. Mr. Howard and Mr. Street are registered in the
                                                           8    Court’s ECF system and may be served electronically, through ECF, with all
                                                           9    documents pertinent to this case.
                                                           10

                                                           11   DATED: August 26, 2022                JW HOWARD/ATTORNEYS, LTD.
JW HOWARD/ ATTORNEYS, LTD.




                                                           12
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




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                                                           14
                                                                                                      By:          /s/ Scott J. Street
                                                           15
                                                                                                            Scott J. Street
                                                           16                                               Attorneys for Plaintiff
                                                                                                            NAOMI WOLF
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                                                                 NOTICE OF ASSOCIATION OF COUNSEL                                   CASE NO. 20-CV-09300-AGT
                                                                      Case 3:21-cv-08378-JD Document 175 Filed 08/26/22 Page 3 of 4



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                                                           2                                        CERTIFICATE OF SERVICE

                                                           3    I, the undersigned, do declare that I am employed in the county aforesaid, that I am over the age of

                                                           4    [18] years and not a party to the within entitled action; and that I am executing this proof at the
                                                                direction of the member of the bar of the above entitled Court. The business address is:
                                                           5

                                                           6                                         JW Howard Attorneys LTD
                                                           7                                           701 B Street, Ste. 1725
                                                                                                     San Diego, California 92101
                                                           8

                                                           9
                                                                       □       MAIL. I am readily familiar with the business’ practice for collection and processing
                                                                of correspondence for mailing via the United States Postal Service and that the correspondence
                                                           10
                                                                would be deposited with the United States Postal Service for collections that same day.
                                                           11
                                                                       ■
JW HOWARD/ ATTORNEYS, LTD.




                                                                               ELECTRONIC. I am readily familiar with the business’ practice for collection and
                                                           12
                             SAN DIEGO, CALIFORNIA 92101




                                                                processing of documents via electronic system and said documents were successfully transmitted via
                               701 B STREET, SUITE 1725




                                                           13
                                                                Court transmission that same day.
                                                           14
                                                                       □       PERSONAL. The below described documents were personally served on date below
                                                           15
                                                                via Knox Services.
                                                           16

                                                           17   On the date indicated below, I served the within:

                                                           18   NOTICE OF ASSOCIATION OF COUNSEL FOR PLAINTIFF NAOMI WOLF
                                                           19   TO:
                                                           20
                                                                 John P. Coale: johnpcoale@aol.com                    Peter W. Homer: PHomer@homerbonner.com
                                                           21
                                                                 Andrei Dan Popovici: andrei@apatent.com              Ari Holtzblatt: ari.holtzblatt@wilmerhale.com
                                                           22
                                                                 Frank C. Dudenhefer, Jr.: fedlaw@aol.com             Felicia Ellsworth:
                                                           23
                                                                                                                      felicia.ellsworth@wilmerhale.com
                                                           24
                                                                 John Q. Kelly: jqkelly@ibolaw.com                    Patrick J. Carome:
                                                           25                                                         Patrick.carome@wilmerhale.com
                                                           26    Marie L. Fiala: marie@apatent.com                    Thomas G. Sprankling:
                                                           27                                                         Thomas.sprankling@wilmerhale.com

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                                                                 NOTICE OF ASSOCIATION OF COUNSEL                                             CASE NO. 20-CV-09300-AGT
                                                                      Case 3:21-cv-08378-JD Document 175 Filed 08/26/22 Page 4 of 4



                                                           1     Michael J. Jones: mjones@ibolaw.com                 Joshua Kolsky: Joshua.kolsky@usdoj.gov
                                                           2     Richard Polk Lawson:                                Indraneel Sur: indraneel.sur@usdoj.gov
                                                           3     rlawson@gardnerbrewer.com

                                                           4     Rowland A. Paul: rpaul@ibolaw.com

                                                           5
                                                                       I declare under penalty of perjury, under the laws of the State of California, that the
                                                           6
                                                                foregoing is true and correct and was EXECUTED on August 26, 2022, at San Diego, CA.
                                                           7

                                                           8                                        _________/s/ Dayna Dang_________
                                                                                                          Dayna Dang, Paralegal
                                                           9                                          dayna@jwhowardattorneys.com
                                                           10

                                                           11
JW HOWARD/ ATTORNEYS, LTD.




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                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




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                                                                 NOTICE OF ASSOCIATION OF COUNSEL                                            CASE NO. 20-CV-09300-AGT
